EXHIBIT 10
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   REMBRANDT WIRELESS                             §
   TECHNOLOGIES, LP,                              §
                                                  §
   v.                                             §   CASE NO. 2:13-CV-213-JRG-RSP
                                                  §
   SAMSUNG ELECTRONICS CO., LTD.,                 §
   et al.                                         §


                         ORDER REGARDING MOTIONS IN LIMINE

          Before the Court are Plaintiff’s Motions in Limine (Dkt. No. 197) and Defendants’
   Motions in Limine (Dkt. No. 204). The Court rules as follows.


   Plaintiff’s Motions in Limine (Dkt. No. 197)

   1.            Motion to preclude Defendants from any references, evidence, testimony
                 (including expert testimony), arguments regarding, or inquires attempting to elicit
                 testimony regarding Rembrandt’s status as a non-practicing entity that has been,
                 and is, involved in patent lawsuits though it does not manufacture products or
                 practice the patents-in-suit. In particular, Rembrandt seeks an order prohibiting
                 Samsung from making derogatory, disparaging, and/or pejorative references to
                 Rembrandt—or Rembrandt’s representatives and employees—by, for example,
                 using any of the following or similar terms: “patent troll,” “pirate,” “bounty
                 hunter,” “privateer,” “bandit,” “paper patent,” “submarine patent,” “stick up,”
                 “hold up,” “shakedown,” “playing the lawsuit lottery,” “patent assertion entity,”
                 “a company that doesn’t make anything,” or “a company that doesn’t sell
                 anything.”

                 Granted. This limine shall not prevent Defendants from arguing that Plaintiff is a
                 patent assertion entity that does not manufacture or sell products in this field. This
                 limine does not prohibit Defendants from characterizing Plaintiff as an entity that
                 licenses and litigates, so long as those terms are used in conjunction with one
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              another. Should Defendants violate the parameters of this limine, they may open
              the door for Plaintiff to make similar references about the Samsung-related
              entity—Intellectual Discovery—as referenced in Defendants’ Motion in Limine.
              (Motion No. 14, Dkt. No. 204 at pp. 14–15.)



   2.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony referring negatively or disparagingly to Rembrandt’s corporate
              structure, including use of pejorative terms such as “corporate shells” or
              “litigation shells” or making implications of any nefarious purpose behind
              Rembrandt’s corporate structure or name changes.

              Granted except as to the ownership history of the asserted patents.



   3.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding litigation brought by Rembrandt involving patents unrelated
              to the patents-in-suit or references to Rembrandt as “litigious.”

              Granted. This limine shall apply to both Plaintiff and Defendants and excludes
              references to other litigation as to either party except with respect to matters that
              relate to licenses that become involved in the case.



   4.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony suggesting that directed prosecution (i.e., drafting claims in a
              continuation or continuation-in-part application to cover an existing product) is
              impermissible or wrong.

              Denied. To the extent necessary, the parties may address this matter in the jury
              instructions.



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   5.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony suggesting that the patents-in-suit: (a) are limited to modems; or (b) do
              not encompass wireless networks.

              Denied in view of Defendants’ representation that they will not take such
              positions that contradict this Court’s Claim Construction Memorandum and Order
              (Dkt. No. 114).



   6.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony pertaining to the pro rata allocation of the $5 million portfolio price to
              individual patents during the acquisition of the patents-in-suit.

              Granted under Rule 403. This limine includes a prohibition from showing any
              parts of the agreement that relate to the pro rata allocation of the patent portfolio.



   7.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding Samsung’s patents or suggesting that a patent or patent
              application is a general defense to infringement.

              Granted by party agreement. This limine does not foreclose testimony
              regarding general information that Samsung has its own patents.



   8.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony suggesting that the PTO—or its examiners—are overburdened,
              incompetent, or overlook references, as well as any reference to “bad” patents or
              any similar pejorative term.



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              Granted. This limine shall not prevent Samsung from making generalizations
              that the examiner was in error or on general matters regarding invalidity.



   9.         Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding the person(s) who are indirect owners of Rembrandt or
              improper character evidence relating to the indirect owners of Rembrandt.

              Granted as to individuals with an ownership interest in Rembrandt (e.g.,
              shareholders). This limine shall not prevent Defendants from eliciting testimony
              that any witness is a shareholder.



   10.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding the fact that testimony or opinions offered by Mr. Roy
              Weinstein may have been excluded or found to be unreliable in any other
              lawsuits.

              Granted. This limine does not prevent references to the fact Mr. Weinstein has
              testified in previous cases nor does it prevent references to how long Mr.
              Weinstein has served in the capacity as an expert so long as there is no numerical
              component regarding the frequency with which he has previously testified in that
              capacity. To the extent Plaintiff does not elicit testimony or proffer evidence that
              Mr. Weinstein has been accepted by other courts, Defendants similarly shall not
              elicit testimony or proffer any evidence from other cases where his testimony was
              limited or excluded.



   11.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding royalties that allegedly must be paid or other unidentified




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              patents must be practiced to sell products compliant with the Bluetooth + EDR
              Specification.

              Denied.



   12.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding contingent fees, fees incurred, the retention/fee agreements of
              any party’s counsel in this case, and any fees obtained or potentially obtained by
              counsel as a result of this case.

              Granted as to the financial interest of counsel, however, this limine does not
              apply to testifying witnesses’ financial interests.



   13.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony suggesting that a damage award in this case (or damage awards
              generally) may drive up the price of products, put manufacturers out of business,
              or cause jobs to be lost should be excluded.

              Granted as to any evidence or argument suggesting a certain damage award in
              this case would threaten the financial viability of Defendants or impact their
              employees or customers.



   14.        Motion to preclude Defendants from any reference, suggestion, evidence,
              testimony, opinion, or argument that contradicts in any way the 30(b)(6)
              deposition testimony of a defendant’s witness.

              Denied. Plaintiff’s concerns can be adequately addressed on cross-examination or
              through a request for limiting instruction to the jury if deemed necessary.




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   15.        Motion to preclude Defendants from impeaching a corporate representative with
              30(b)(6) testimony outside the scope of topics for which a corporate
              representative was designated.

              Denied.



   16.        Motion to preclude Defendants from offering any evidence and arguments related
              to RANDZ: Any references, evidence, testimony (including expert testimony),
              arguments regarding, or inquires attempting to elicit testimony regarding the
              Bluetooth RANDZ (or RAND Zero) policy, including Samsung’s proposed trial
              exhibit DX 1255 (“Bluetooth Patent/Copyright License Agreement”), which is the
              form Bluetooth SIG RANDZ license.

              Denied.



   17.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony relating to the alleged relative importance of the claim elements of any
              of the claims of the patents- in-suit.

              Denied. Plaintiff’s concerns can be adequately addressed in the jury instructions
              if Plaintiff perceives Defendants’ characterizations as giving a false impression of
              the law.



   18.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony regarding the existence of prior claims or causes of action that have
              been dismissed, abandoned, or dropped by Rembrandt, including the fact that
              such claims or causes of actions were previously asserted but have been
              dismissed, abandoned, or dropped.




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              Granted as to fact that Plaintiff has narrowed the claims asserted throughout this
              litigation, but not excluding any of the prosecution history of the patents before
              the USPTO.



   19.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony suggesting that products or parties not accused of infringement in this
              case do not infringe the patents-in-suit.

              Granted as to any testimony or argument that the fact that some product was not
              accused means that it does not infringe.



   20.        Motion to preclude Defendants from any evidence or reference relating to any
              claim of privilege.

              Granted to the extent that if Plaintiff or Defendants seek to offer evidence as to
              which an unresolved claim of privilege has been asserted, they shall first seek
              leave to approach the bench.



   21.        Motion to preclude Defendants from any evidence or reference regarding subject
              matter that is privileged. In particular, counsel shall not ask questions that would
              reasonably be anticipated to elicit testimony or privileged subject matter.

              Granted to the extent that if Plaintiff or Defendants seek to offer evidence as to
              which an unresolved claim of privilege has been asserted, they shall first seek
              leave to approach the bench.



   22.        Motion to preclude Defendants from any reference to Rembrandt’s connection to
              Texas, or lack thereof, including but not limited to the amount or type of business
              conducted in Texas or the length of time Rembrandt has had activities in Texas.




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              Granted. This limine shall not limit the parties from providing general
              discussions regarding the parties’ respective locations if those locations are
              relevant to facts at issue or developing factual evidence about where a witness
              lives or works. This limine further shall not limit Defendants’ ability to inquire as
              to Plaintiff’s connections with Texas if Plaintiff suggests such ties.



   23.        Motion to preclude Defendants from any references, evidence, testimony
              (including expert testimony), arguments regarding, or inquires attempting to elicit
              testimony comparing the accused devices to prior art. It would be improper for
              Samsung to argue that the accused products do not infringe merely because they
              practice the prior art.

              Granted as to arguments that Defendants do not infringe because they practice
              the prior art. This limine shall not impair Defendants’ right to present their
              invalidity defenses based on anticipation or obviousness.



   24.        Motion to preclude Defendants from any reference to or evidence regarding any
              prior art that was not properly disclosed in Samsung’s invalidity contentions. This
              includes any prior art or invalidity theories that were not specifically charted
              and/or not timely disclosed pursuant to the relevant deadlines for this particular
              case.

              Denied for the reasons set forth in this Court’s Order (Dkt. No. 227) denying
              Plaintiff’s Motion to Strike Portions of the Invalidity Report of Dr. David
              Goodman (“Motion to Strike”). (Dkt. No. 165.)



   25.        Motion to preclude Defendants from any testimony from—or evidence related
              to—Samsung’s untimely-designated witness, Chris Pickering.

              Granted by party agreement.




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   Defendants’ Motions in Limine (Dkt. No. 204)

   1.           Motion to exclude Rembrandt’s settlement and standstill agreement with
                Blackberry and any testimony regarding it.

                Denied for the reasons set forth in this Court’s Order (Dkt. No. 243) denying
                Defendants’ Motion to Exclude Opinions of Roy Weinstein (“Motion to
                Exclude”) (Dkt. No. 189). In lieu of sealing the Court, the parties are hereby
                ORDERED to not discuss the amount of this agreement.



   2.           Motion to exclude Samsung’s Agreements with Mosaid and Wi-Lan and any
                testimony regarding them or testimony to condition the jury to a particular range
                or amount for damages.

                Granted as to the amounts of these agreements but denied as to remaining parts.
                Rembrandt may rely on these agreements so long as the amounts for these
                licenses are redacted from the agreements. Rembrandt may, after seeking leave to
                approach the bench, introduce evidence of these license amounts if Samsung
                opens the door by making arguments to the effect that it does not take licenses for
                non-trivial amounts.



   3.           Motion to exclude evidence of Samsung’s size, wealth, total revenues or profits.

                Granted subject to the provisions of the parties’ stipulations. See (Dkt. No. 222,
                p. 2 at ¶ 3.a.) (detailing the subjects to which Mr. Weinstein shall not testify
                including, but not limited to, Samsung’s total revenues, gross profits, and
                operating profits).



   4.           Motion to exclude reference to Samsung’s foreign status or the absence of any
                Samsung witnesses at trial.

                Granted only as to foreign status. This limine shall not limit the parties from
                providing general discussions regarding the parties’ respective locations if those


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               locations are relevant to facts at issue or developing factual evidence about where
               a witness lives or works. This limine further shall not limit Plaintiff’s ability to
               inquire as to the foreign status of Samsung or its witnesses if such inquiry is
               connected to an issue where nationality is relevant.

               Denied as to the absence of witnesses at trial.



   5.          Motion to exclude evidence of Samsung’s sales and market share outside the US.

               Withdrawn by Defendants as duplicative of Samsung’s Motion to Exclude
               Opinions of Roy Weinstein. (Dkt. No. 189.)



   6.          Motion to exclude reference to non-accused Samsung products.

               Withdrawn by Defendants as duplicative of Samsung’s Motion to Exclude
               Opinions of Roy Weinstein. (Dkt. No. 189.)



   7.          Motion to exclude witnesses not listed on Rembrandt’s Rule 26(a) Disclosures
               and who did not provide expert reports.

               Granted as to exclude Phillip Koopman; Denied as to exclude Stuart Kerry;
               Withdrawn as to any other witnesses.



   8.          Motion to exclude hearsay testimony from Rembrandt’s expert Dr. Akl.

               Granted to the extent Dr. Akl will not be permitted to refer to what Dr. Koopman
               or Dr. Kerry told him (unless the door is opened on cross-examination, and after
               approaching the bench) but Dr. Akl can rely upon those conversations as a basis
               of his opinion. Dr. Akl may refer to the fact that he met with Dr. Koopman and
               Dr. Kerry when listing the matters he considered.




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   9.          Motion to preclude Rembrandt’s experts from applying a special, restrictive
               definition of “master.”

               Withdrawn by Defendants.



   10.         Motion to exclude any assertion of Doctrine of Equivalents.

               Withdrawn as agreed by parties through Plaintiff’s representation that it will
               not present a Doctrine of Equivalents infringement theory.



   11.         Motion to exclude evidence of the non-institution of any IPRs.

               Granted as to the denial of Samsung’s IPR petitions. However, Samsung is
               instructed to avoid argument, testimony, or implication intended to represent to
               the jury that the prior art references in question were not considered by the United
               States Patent and Trademark Office or the examiner. If Samsung, either expressly
               or implicitly, leads the jury to believe that this is the first time the relevant
               references have been evaluated, the Court will permit Plaintiff to rebut this line of
               argument by producing evidence of the PTAB’s action on Samsung's non-
               instituted IPR petitions.



   12.         Motion to exclude evidence of the Court’s Order denying leave to file certain
               motions for summary judgment.

               Granted by agreement.



   13.         Motion to exclude any mention of spoliation or destruction of documents.

               Granted. The parties are directed to not make any argument to the jury during
               voir dire or opening statement as to any purported spoliation or destruction of
               documents. This limine shall not preclude Plaintiff from inquiring as to the
               existence, maintenance, or production of, Bluetooth-related documentation.



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   14.         Motion to exclude evidence relating to Samsung’s investment in Intellectual
               Discovery.

               Granted. This limine shall not prevent Plaintiff from arguing or eliciting
               testimony relating to Samsung’s investment in Intellectual Discovery to the extent
               Defendants offer argument, evidence, or testimony contrary to Plaintiff’s Motion
               in Limine, No. 1. See (Dkt. No. 197) (restricting Defendants’ comments or
              testimony
          SIGNED         regarding
                   this 3rd        Rembrandt’s
                            day of January,    “status as a non-practicing entity”).
                                            2012.
          SIGNED this 30th day of January, 2015.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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